            Case 1:18-cv-00444-RP Document 402 Filed 07/25/23 Page 1 of 3



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

COUNSEL HOLDINGS, INC.,                     §
                                            §
                Plaintiff,                  §
                                            §
v.                                          §           1:18-CV-444-RP
                                            §
EVAN P. JOWERS,                             §
                                            §
        Defendant.                          §
                                 AMENDED FINAL JUDGMENT

        On this day, the Court granted Evan P. Jowers’s Notice/Motion to Amend Judgment, (Dkt.

346). The Court also granted in part Yuliya Vinokurova’s Motion to Amend Judgment, (Dkts. 355).

The Court also granted in part Counsel Holdings, Inc.’s Motion to Amend Judgment. Accordingly,

the Court renders the following Amended Final Judgment pursuant to Federal Rule of Civil

Procedure 58.

        The Court finds that Counsel Holdings, Inc. is the successor in interest to each of the

agreements and claims at issue in this lawsuit and is the properly named Plaintiff in this lawsuit.

        Therefore, IT IS ORDERED that judgment is awarded in favor of the plaintiff, Counsel

Holdings, Inc. (“Counsel Holdings”).

        IT IS FURTHER ORDERED that the following damages are AWARDED to Counsel

Holdings:

                         Misappropriation of Trade Secrets          $515,326.20

                         Breach of Jowers Agreement               $3,082,841.72

                         Forgivable Loan                             $26,204.90

                         Revolving Loan                              $15,759.78

                         Total                                    $3,640,132.60
          Case 1:18-cv-00444-RP Document 402 Filed 07/25/23 Page 2 of 3




        IT IS FURTHER ORDERED that the following pre-judgment interest amounts are

AWARDED to Counsel Holdings:

                        Misappropriation of Trade Secrets           $155,455.30

                        Breach of Jowers Agreement                  $671,294.33

                        Total                                       $826,749.63



        IT IS FURTHER ORDERED that the Court will award reasonable attorney fees to

MWK for breach of the Jowers Agreement, Forgivable Loan, and Revolving Loan in an amount to

be determined upon presentation of attorney fee evidence. IT IS FURTHER ORDERED that

MWK shall file a motion for reasonable attorneys’ fees and a bill of costs, with supporting

documentation, no later than fourteen days after the entry of final judgment, pursuant to Local

Rules CV-7(j)(1) and CV-54(a).

        IT IS FURTHER ORDERED that post-judgment interest shall accrue beginning on

September 19, 2022, the day the judgment was filed with the Comptroller General. See 28 U.S.C. §

1961, 31 U.S.C. § 1304(b)(1)(A); Transco Leasing Corp. v. United States, 992 F.2d 552, 557 (5th Cir.

1993). The post-judgment interest rate as of September 16, 2022, was 3.91% per annum. See

https://www.txwd.uscourts.gov/for-attorneys/post-judgment-interest-rates-weekly/.

        IT IS FURTHER ORDERED that Counsel Holdings’ claims against Defendants Legis

Ventures and Alejandro Vargas for misappropriation of trade secrets under the Federal Defend

Trade Secrets Act and the Texas Uniform Trade Secrets Act and civil conspiracy are DISMISSED

for lack of personal jurisdiction.




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         Case 1:18-cv-00444-RP Document 402 Filed 07/25/23 Page 3 of 3



       IT IS FURTHER ORDERED that Counsel Holdings’ claims against Yuliya Vinokurova

for misappropriation of trade secrets under the Federal Defend Trade Secrets Act and the Texas

Uniform Trade Secrets Act and breach of contract are DISMISSED for failure to state a claim

upon which relief could be granted.

       IT IS FURTHER ORDERED that Counsel Holdings’ claims against Yuliya Vinokurova

for misappropriation of trade secrets under the Federal Defend Trade Secrets Act and the Texas

Uniform Trade Secrets Act and breach of contract are DISMISSED for failure to state a claim

upon which relief could be granted.

       IT IS FURTHER ORDERED that Counsel Holdings’ civil conspiracy claim is

DISMISSED for failure to state a claim upon which relief could be granted.

       IT IS FURTHER ORDERED that all other relief not specifically granted is denied.

       IT IS FINALLY ORDERED that this case is CLOSED.

       SIGNED on July 25, 2023.




                                                     __________________________________
                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE




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